       Case 3:21-cv-05227-JD Document 482 Filed 10/05/23 Page 1 of 71




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       Case 3:21-cv-05227-JD Document 482 Filed 10/05/23 Page 2 of 71




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         Case 3:21-cv-05227-JD Document 482 Filed 10/05/23 Page 3 of 71




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 2

 3 MOTION ,1/,0,1( NO. 1: TO PRECLUDE EPIC FROM OFFERING EVIDENCE OR
        ARGUMENT THAT THE APPLE APP STORE AND GOOGLE PLAY STORE
 4      ARE IN SEPARATE MARKETS .........................................................................................

 5 PLAINTIFFS¶ OPPOSITION TO MOTION ,1/,0,1(NO. 17

 6 MOTION ,1 /,0,1( NO. 2:     TO EXCLUDE EVIDENCE OR ARGUMENT
        REGARDING PRIVILEGE DESIGNATIONS ..................................................................10
 7
   PLAINTIFFS¶ OPPOSITION TO MOTION ,1/,0,1(NO. 2
 8
   MOTION ,1 /,0,1( NO. 3: TO EXCLUDE EVIDENCE REGARDING GOOGLE’S
 9      2019 NEGOTIATIONS WITH SAMSUNG REAGRDING SAMSUNG’S
        GALAXY STORE (“PROJECT BANYAN”) .....................................................................19
10
   PLAINTIFFS¶ OPPOSITION TO MOTION ,1/,0,1(NO. 32
11
   MOTION ,1 /,0,1( NO. 4:     TO EXCLUDE EVIDENCE OR ARGUMENT
12      REGARDING OTHER LAWSUITS OR SETTLEMENTS IN THIS MDL. .....................28

13 PLAINTIFFS¶ OPPOSITION TO MOTION ,1/,0,1(NO. 43

14 MOTION ,1 /,0,1( NO. 5:  TO EXCLUDE EVIDENCE OR ARGUMENT
        REGARDING    GOOGLE   EMPLOYEES’                     COMPENSATION,                         STOCK
15      HOLDINGS, OR NET WORTH .........................................................................................37

16 PLAINTIFFS¶ OPPOSITION TO MOTION ,1/,0,1(NO. 5

17 MOTION ,1 /,0,1( NO. 6:     TO EXCLUDE EVIDENCE OR ARGUMENT
        REGARDING FEDERAL GOVERNMENT REPORTS ....................................................45
18
   PLAINTIFFS¶ OPPOSITION TO MOTION ,1/,0,1(NO. 65
19
   MOTION ,1 /,0,1( NO. 7:     TO EXCLUDE EVIDENCE OR ARGUMENT
20      REGARDING FOREIGN PROCEEDINGS AND INVESTIGATIONS ............................55

21 PLAINTIFFS¶ OPPOSITION TO MOTION ,1/,0,1(NO. 7

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              DEFENDANTS’ OMNIBUS MOTIONS ,1/,0,1( AND PLAINTIFFS’ RESPONSES THERETO
           Case Nos. 3:21-md-02981-JD, 3:20-cv-05761-JD, 3:20-cv-05671-JD, 3:21-cv-05227-JD, 3:22-cv-01746-JD
       Case 3:21-cv-05227-JD Document 482 Filed 10/05/23 Page 4 of 71




    %ULDQ&5RFFD6%            *OHQQ'3RPHUDQW]6%
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       Case 3:21-cv-05227-JD Document 482 Filed 10/05/23 Page 5 of 71




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        Case 3:21-cv-05227-JD Document 482 Filed 10/05/23 Page 7 of 71




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 IDFWILQGHUWRPDNHWKHYHU\ILQGLQJVWKDWWKH$SSOHFRXUWDQGWKH1LQWK&LUFXLWUHMHFWHG(SLF

 FRQWHQGVKHUHWKDWWKH$SSOH$SS6WRUHDQGWKH*RRJOH3OD\VWRUHDUHQRWFRPSHWLWRUVEHFDXVHWKH

 UHOHYDQWPDUNHWVDUHOLPLWHGWR  GLVWULEXWLRQRI$QGURLGDSSVDQG  ELOOLQJVHUYLFHVIRUWKRVH

 $QGURLGDSSVZKLFKGRQRWLQFOXGHWKH$SSOH$SS6WRUHRU$SSOH¶VELOOLQJV\VWHP

         ,WFDQQRWEHWKDWWKH$SSOH$SS6WRUHFRPSHWHVDJDLQVWWKH*RRJOH3OD\VWRUHIRUSXUSRVHV

 RI(SLF¶VFODLPVDJDLQVW$SSOHEXWQRWIRUSXUSRVHVRI(SLF¶VFODLPVDJDLQVW*RRJOH8QGHUWKH

 GRFWULQHRIFROODWHUDOHVWRSSHO(SLFFDQQRWDVNDIDFWILQGHULQLWVFDVHDJDLQVW*RRJOHWRPDNH

 ILQGLQJVWKDWWKHFRXUWVUHMHFWHGLQ(SLF¶VFDVHDJDLQVW$SSOH6HH,QWHOO9HQWXUHV,//&Y&DS

 2QH)LQ&RUS)G )HG&LU  DIILUPLQJFROODWHUDOHVWRSSHODVWRUHOHYDQW

 PDUNHW *$)&RUSY(DVWPDQ.RGDN&R)6XSS 6'1<  VDPH 

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 HVWRSSHGIURPUHOLWLJDWLQJWKHLVVXHRIWKHH[LVWHQFHRIDUHOHYDQWPDUNHW´ 

         &ROODWHUDOHVWRSSHOLVDSSURSULDWHZKHUH³  WKHLVVXHDWVWDNHZDVLGHQWLFDOLQERWK

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  SURFHHGLQJV  WKHLVVXHZDVDFWXDOO\OLWLJDWHGDQGGHFLGHGLQWKHSULRUSURFHHGLQJV  WKHUHZDV

  DIXOODQGIDLURSSRUWXQLW\WROLWLJDWHWKHLVVXHDQG  WKHLVVXHZDVQHFHVVDU\WRGHFLGHWKH

  PHULWV´9HODUGH)ORUHVY/\QFK)$SS¶[ WK&LU  TXRWLQJ2\HQLUDQY

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  DQGIDLURSSRUWXQLW\WROLWLJDWHZKHWKHUWKH$SSOH$SS6WRUHDQGWKH*RRJOH3OD\VWRUHFRPSHWHLQ

  WKHVDPHUHOHYDQWPDUNHW(SLFOLWLJDWHGWKDWLVVXHDQGORVWDWWULDODQGRQDSSHDO,QGHHGWKHUHLV

  DQH[SUHVVMXGLFLDOILQGLQJDJDLQVWWKHPRQWKHLVVXH²WKH&RXUWIRXQGWKDWWKH$SSOH$SS6WRUH

  DQG*RRJOH3OD\FRPSHWHDQGWKH1LQWK&LUFXLWDIILUPHGWKHGLVWULFWFRXUW¶VGHFLVLRQ,Q$SSOH

  (SLFIDLOHGWRSURYHWKDWWKHUHLVDPDUNHWIRUWKH$SSOH$SS6WRUHWKDWGRHVQRWLQFOXGHWKH

 *RRJOH3OD\VWRUH+HUH(SLFVHHNVWRSURYHWKHRWKHUVLGHRIWKHVDPHFRLQDVXSSRVHGPDUNHW

 IRU$QGURLGDSSGLVWULEXWLRQWKDWLQFOXGHVWKH*RRJOH3OD\VWRUHEXWQRWWKH$SSOH$SS6WRUH

 (SLFFDQQRWUHOLWLJDWHWKDWLVVXHE\DOOHJLQJPRQRSROL]DWLRQRIWKHVXSSRVHGO\VHSDUDWH$QGURLG

 DSSGLVWULEXWLRQPDUNHWUDWKHUWKDQWKHVXSSRVHGO\VHSDUDWH$SSOH$SS6WRUHPDUNHW³,VVXH

 SUHFOXVLRQRUFROODWHUDOHVWRSSHOEDUVVXFFHVVLYHOLWLJDWLRQRIDQLVVXHRIIDFWRUODZDFWXDOO\

 OLWLJDWHGDQGUHVROYHGLQDYDOLGFRXUWGHWHUPLQDWLRQHVVHQWLDOWRWKHSULRUMXGJPHQWHYHQLIWKH

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 LQFOXGHWKH$SSOH$SS6WRUHLV³FORVHO\UHODWHG´DQGLQYROYHV³WKHVDPHUXOHRIODZ´DVLWVIDLOHG

 WKHRU\RIDPDUNHWIRUL26DSSGLVWULEXWLRQWKDWGRHVQRWLQFOXGHWKH*RRJOH3OD\VWRUH5HVRO7U

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 RYHUODS´LQHYLGHQFH,G$QGZKHQ(SLFKDWFKHG3URMHFW/LEHUW\³DKLJKO\FKRUHRJUDSKHG

 DWWDFN´WKDWXVHGWKHVDPHGHFHSWLYHVRIWZDUHFRGHDJDLQVWWKH$SSOH$SS6WRUHDQGWKH*RRJOH

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  3OD\VWRUHDQGWKDWFXOPLQDWHGLQODZVXLWVDJDLQVWERWKFRPSDQLHVRQWKHVDPHGD\$SSOH,)

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    ,QF*RRJOHUHTXHVWVWKDWWKH&RXUWJLYHSUHFOXVLYHHIIHFWWRDMXGJPHQWWKDWGLGQRWUHVROYHRUHYHQ

    DGGUHVVDQLVVXHWKDWZLOOEHSUHVHQWHGLQWKHXSFRPLQJWULDOWKHSURSHUDQWLWUXVWPDUNHWVLQZKLFKWR

    HYDOXDWHWKHHIIHFWVRI*RRJOH¶VFRQGXFW*RRJOH¶VPRWLRQLVLQFRUUHFWDVDPDWWHURIODZLPSURSHUDV

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    GHFLGHGKHUHLVLGHQWLFDOWRWKHLVVXH³DFWXDOO\OLWLJDWHG´DQGGHFLGHGLQ$SSOH6HH/HYL6WUDXVV &RY

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            *RRJOHQRQHWKHOHVV FRQWHQGV WKDWLQ WKLVOLWLJDWLRQ³(SLFVHHNVWR SURYH WKHRWKHUVLGHRIWKH

    VDPHFRLQ´ 'HI¶V0,/1RDW %XWWRPHHWWKHLGHQWLW\RILVVXHVUHTXLUHPHQW*RRJOHZRXOGQHHG

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    LOOXVWUDWHGLQHYHU\FDVH*RRJOHFLWHV,Q,QWHOOHFWXDO9HQWXUHV,//&Y&DSLWDO2QH)LQDQFLQJ&RUS

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   FRQFOXGHWKDW WKH³PDUNHW GHILQLWLRQDQGPDUNHWSRZHULVVXHVGHWHUPLQHGDQGSUHVHQWHG´LQ ERWK

   FDVHVZHUHLGHQWLFDO,GDW7KHVDPHLVWUXHIRU0F1HLOY1DW¶O)RRWEDOO/HDJXH)6XSS

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          3ODLQWLIIVKDYHQRWILOHGDPRWLRQWRFRPSHOEDVHGRQ*RRJOH¶VDVVHUWLRQRISULYLOHJHRYHU
 DQ\SDUWLFXODUGRFXPHQWLQWKLVFDVH2QWKHFRQWUDU\3ODLQWLIIV¶TXHVWLRQVRQWKLVWRSLFZHUH

 UHVROYHGWKURXJKWKHXVXDOPHHWDQGFRQIHUSURFHVVGXULQJGLVFRYHU\,Q$SULO3ODLQWLIIV

 VHQW*RRJOHDOHWWHUUDLVLQJTXHVWLRQVDERXWFHUWDLQHQWULHVRQ*RRJOH¶VSULYLOHJHORJVZKHUHDQ

 DWWRUQH\ZDVFRSLHGRQWKHHPDLOEXWGLGQRWUHVSRQG7RDGGUHVV3ODLQWLIIV¶FRQFHUQV*RRJOH

 DJUHHGWRUHUHYLHZWKRXVDQGVRISULYLOHJHORJHQWULHVIRUVXFKHPDLOV

          3ODLQWLIIVGLGQRWUHTXHVWDQ\IXUWKHUDFWLRQE\*RRJOHDQGFKRVHQRWWRUDLVHWKLVLVVXHZLWK
 WKH&RXUWDIWHU*RRJOH¶VFRXQVHOUHUHYLHZHGWKRXVDQGVRISULYLOHJHORJHQWULHVDQGUHDIILUPHGWKH

 YDOLGLW\RI*RRJOH¶VSULYLOHJHDVVHUWLRQV1HYHUWKHOHVV3ODLQWLIIVQRZDSSHDUGHWHUPLQHGWR

 SUHVHQWWRWKHMXU\GRFXPHQWVUHIHUHQFLQJDWWRUQH\FOLHQWSULYLOHJH3ODLQWLIIV¶H[KLELWOLVWLQFOXGHV

 WZRFKDWVEHWZHHQWZRLQKRXVHDWWRUQH\VLQZKLFKWKHDWWRUQH\VXVHGWKHWHUP³IDNHSULYLOHJH´LQ

 DFROORTXLDOFRQYHUVDWLRQ7KRVHWZRLQKRXVHDWWRUQH\VDOVRDSSHDURQ3ODLQWLIIV¶ZLWQHVVOLVW

 *RRJOHRIIHUHGWRUHUHYLHZDOOHQWULHVRQLWVSULYLOHJHORJVIRUZKLFKWKHVHDWWRUQH\VZHUHWKH

 EDVLVRIWKHSULYLOHJHDVVHUWLRQ3ODLQWLIIVDJUHHGWRFRQVLGHUWKLVRIIHUDQGWKHQQHYHUUHVSRQGHGWR

 LW 3ODLQWLIIV¶H[KLELWOLVWDOVRLQFOXGHVVOLGHGHFNVXVHGWRWUDLQQHZ*RRJOHQRQDWWRUQH\

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  HPSOR\HHVUHJDUGLQJDWWRUQH\FOLHQWSULYLOHJH$QGLQGHSRVLWLRQV3ODLQWLIIVKDYHDVNHGIDFW

  ZLWQHVVHVDERXWWKHLUUHDVRQVIRUPDUNLQJDVSULYLOHJHGHPDLOVWKDWZHUHSURGXFHGLQGLVFRYHU\

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            (YLGHQFHDQGDUJXPHQWFRQFHUQLQJUHIHUHQFHVWRDWWRUQH\FOLHQWSULYLOHJHVKRXOGEH
  H[FOXGHGIRUVHYHUDOUHDVRQV

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   7KHRQO\SRVVLEOHSXUSRVHRIWKLVHYLGHQFHZRXOGEHWRVXJJHVWWKDW*RRJOHKDVVRPHKRZ

  GHSULYHGWKH3ODLQWLIIVRIUHOHYDQWLQIRUPDWLRQWKURXJKLPSURSHUDVVHUWLRQVRISULYLOHJH%XW

  3ODLQWLIIVKDYHQRWHYHQDOOHJHG±±OHWDORQHHVWDEOLVKHG±±DQ\VXFKWKLQJ,QGHHG3ODLQWLIIVKDYH

 QHYHUHYHQILOHGDPRWLRQWRFRPSHOFKDOOHQJLQJ*RRJOH¶VDVVHUWLRQRISULYLOHJHRYHUDQ\

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 LQWUDLQLQJGRFXPHQWVDQGHPDLOVDQGWKHWHVWLPRQ\RI*RRJOHLQKRXVHODZ\HUVFRQFHUQLQJWKH

 VDPHKDYHQRUHOHYDQFHZKDWVRHYHU&I,QUH*HQ0RWRUV//&,JQLWLRQ6ZLWFK/LWLJ1R

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           6HFRQGLQOLJKWRIWKHIDFWWKDW3ODLQWLIIVKDYHPDGHQRVKRZLQJWKDW*RRJOH¶VDFWXDO
 DVVHUWLRQVRISULYLOHJHZHUHLQDQ\ZD\LPSURSHUHYLGHQFHDQGDUJXPHQWFRQFHUQLQJUHIHUHQFHVWR

 SULYLOHJHLQSDUWLFXODUGRFXPHQWVZRXOGEHXQIDLUO\SUHMXGLFLDODQGZRXOGFRQIXVHDQGPLVOHDGWKH

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 KRXVHFRXQVHORQHPDLOVRUPDUNSDUWLFXODUHPDLOVDVSULYLOHJHG*RRJOHHPSOR\HHVGRQRWKDYH

 WRH[SOLFLWO\RXWOLQHWKHLUUHTXHVWIRUOHJDODGYLFHLQDFRPPXQLFDWLRQZLWKFRXQVHO²HYHQ³>D@Q

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  DWWRUQH\FOLHQWSULYLOHJHWRPDUNDVSULYLOHJHGGRFXPHQWVWKDWOLWLJDWLRQFRXQVHOODWHUGHWHUPLQH

  QRWWREHSULYLOHJHG$IWHUDOOZKHWKHUFRPPXQLFDWLRQVFRS\LQJLQKRXVHFRXQVHOVHHNOHJDO

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  UHDVRQDEOHODZ\HUVFDQKDYH³JRRGIDLWKGLIIHUHQFH V RIRSLQLRQ´$P1DW¶O%DQN 7U&RY

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  RYHUSULYLOHJH,I3ODLQWLIIVDUHSHUPLWWHGWRSUHVHQWWKLVHYLGHQFH*RRJOHZLOOEHIRUFHGWR

  LQWURGXFHHYLGHQFHH[SODLQLQJWRWKHMXU\WKHSURFHVVE\ZKLFK*RRJOHUHYLHZHGGRFXPHQWVIRU

  SULYLOHJHLQFRQQHFWLRQZLWKWKLVOLWLJDWLRQLQRUGHUWRGLVSHOWKHPLVLPSUHVVLRQWKDW*RRJOH

 VRPHKRZDFWHGLPSURSHUO\RUWKDWHPSOR\HHVDQGQRWOLWLJDWLRQFRXQVHOPDNHWKHILQDO

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    DQG PDUN VXFK GRFXPHQWV DV ³SULYLOHJHG´ LQ DQ DWWHPSW WR VKLHOG WKHVH GRFXPHQWV IURP GLVFRYHU\

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    FDPSDLJQ WR FRQFHDO RU SUHYHQW WKH FUHDWLRQ RI HYLGHQFH WKDW VKRZV WKH XQODZIXOQHVV RI LWV EXVLQHVV

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   DWWHPSWLQJWRFRQFHDOLPSRUWDQWGRFXPHQWVLVHYLGHQFHWKDW*RRJOHNQRZVLWVEXVLQHVVSUDFWLFHVZHUH

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   WKLV LQWR DFFRXQW ZKHQ HYDOXDWLQJ WKH HYLGHQFH WKDW *RRJOH KDV QRW KLGGHQ RU GHVWUR\HG  *RRJOH¶V

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   ZHUHDQHIIRUWWRFRQFHDOHYLGHQFHEHFDXVHWKHFRXUWKDGSUHYLRXVO\IRXQGWKDWWKHSODLQWLIIVIDLOHGWR

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              Case 3:21-cv-05227-JD Document 482 Filed 10/05/23 Page 21 of 71




            6HFRQGWKLV HYLGHQFHLV QRW XQIDLUO\SUHMXGLFLDO )HG5(YLG 7KHUHLV D³KLJK EDUWR

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    FOLHQWSULYLOHJH´ZKRZHUHQDYLJDWLQJDQ³HVSHFLDOO\GLIILFXOWDUHDRISULYLOHJHODZ´ 'HI¶V0,/1R

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       Case 3:21-cv-05227-JD Document 482 Filed 10/05/23 Page 36 of 71




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 LQYLWHWKHMXU\WRLQIHULQFRUUHFWO\WKDW*RRJOHVHWWOHGUHODWHGFODLPVEHFDXVHWKHFODLPVEHIRUH

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 2          Google’s Motion LQ/LPLQH No. 5 to exclude evidence or argument regarding Google employees’

 3   compensation, stock holdings or net worth should be denied. Such evidence is plainly relevant to Google

 4   employees’ willingness and motivation to engage in unlawful anticompetitive conduct. 6HH HJ,

 5   6KHQZLFNY7ZLWWHU,QF, 2021 WL 1232451, at *11 (N.D. Cal. Mar. 31, 2021) (denying defendant’s

 6   motion LQ OLPLQH to exclude “evidence or argument concerning the individual defendants’ financial

 7   condition, net worth, including ownership of Twitter stock [and] compensation” for the class period

 8   because “Defendants’ compensation is relevant to motive and scienter”);8QLWHG6WDWHVY6FKHQD, 2022

 9   WL 2910185, at *17 (N.D. Cal. July 23, 2022) (denying defendant’s motion LQ OLPLQH to exclude

10   evidence about his financial condition because “the fact that Defendant personally owned a large amount

11   of [company] shares and thus stood to benefit from the alleged . . . scheme, is relevant to show motive

12   and intent”); 6(&Y*ROGVWRQH, 2016 WL 3654273, at *15 (D.N.M. June 13, 2016) (allowing “evidence

13   regarding the Defendants’ income to . . . prove motive and scienter”). In fact, the compensation at issue

14   LVthe motivation, or at least a driving motivation, in the employees’ willingness to participate in illegal

15   conduct.

16          For example, certain witnesses in this case are alleged to have been involved in negotiating SHU
17   VHillegalagreements not to compete between Google and potential competitors. Others were involved

18   in negotiations with Samsung as part of “Project Banyan”—a project whereby Google intended to buy

19   off the Galaxy Store—a direct competitor to the Google Play Store—so that it would cease to compete

20   with the Google Play Store. The extent to which these witnesses would personally benefit from this

21   conduct—as distinct from the benefit to Google as an entity—is relevant when evaluating these

22   individuals’ willingness to participate in violations of the antitrust laws. 6HH8QLWHG6WDWHVY3HQQ, 2022

23   WL 523004, at *2 (D. Colo. Feb. 22, 2022) (noting with regard to evidence of compensation that

24   “evidence of how [defendants] would benefit from higher chicken prices was relevant to motive for price

25   fixing and was admissible”).

26          Furthermore, Google’s unlawful conduct in this case includes its willful destruction of evidence
27   in the form of Chats. The Court has already found that “Google fell strikingly short” of its duty to



                                                         
28   preserve evidence and “gave each employee carte blanche to make his or her own call about what might
                                                           13
                                                             
                               PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MIL NO. 5
           Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:21-cv-05227-JD; 3:22-cv-02746-JD
              Case 3:21-cv-05227-JD Document 482 Filed 10/05/23 Page 46 of 71




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             Case 3:21-cv-05227-JD Document 482 Filed 10/05/23 Page 47 of 71




 1   corporate shareholders and executives”. 2010 WL 11505684, at *23 (C.D. Cal. Jan. 25, 2010), aff’d in

 2   part, 526 F. App’x 761 (9th Cir. 2013). As a result of Google’s anticompetitive practices, the Google

 3   Play Store is extremely profitable and contributes meaningfully to Alphabet’s bottom line. (See Even

 4   Decl. Ex. 7, GOOG-PLAY-000338400 at -401 (noting that the Google Play Store contributed

 5                              Alphabet H1’2020 operating profit”).) The profitability of the Google Play

 6   Store thus has a direct impact on Google employees’ generous compensation. (See, e.g., Even Decl.

 7   Ex. 8, Dep. of Jamie Rosenberg at Tr. 387:25-389:1 (stating that he holds                    unvested Google

 8   shares).) That results in loyalty and hefty financial incentives that are a world away from the ordinary

 9   loyalty that is implicit in an employer-employee relationship.
10          For the reasons stated above, the Court should deny Google’s motion to exclude evidence or

11   argument regarding Google employees’ compensation, stock holdings or net worth.

12          In the event that the Court grants Google’s motion, the Court should preclude evidence or

13   argument regarding all witnesses’ compensation, stock holdings or net worth.

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                               PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MIL NO. 5
           Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:21-cv-05227-JD; 3:22-cv-02746-JD
       Case 3:21-cv-05227-JD Document 482 Filed 10/05/23 Page 48 of 71




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  OHJDOFRQFOXVLRQV´EHFDXVHWKHSXEOLFUHFRUGVH[FHSWLRQ³SHUPLWVµIDFWXDOILQGLQJV¶DQGQRWOHJDO

  RSLQLRQVWRFRPHLQWRHYLGHQFH´ 

          6HFRQGIHGHUDOJRYHUQPHQWUHSRUWVDUHLQDGPLVVLEOHXQGHU5XOHEHFDXVHWKH\SUHVHQW

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 RIRIILFLDOJRYHUQPHQWEXVLQHVVZLOOLQYLWHWKHMXU\WRGHFLGHWKHFDVHRQWKHLPSURSHUEDVLVRI

 ZKDW³WKHJRYHUQPHQW´KDVDOUHDG\GHWHUPLQHGUDWKHUWKDQZKDWWKHHYLGHQFHVKRZV6HH8QLWHG

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 IDFWILQGHUUDWKHUWKDQGHWHUPLQHWKRVHLVVXHVIRUWKHPVHOYHV´ 7RDYRLGWKDWXQIDLUSUHMXGLFH

 *RRJOHZRXOGKDYHWRFRQGXFWDGLVWUDFWLQJDQGWLPHFRQVXPLQJPLQLWULDOLQWRWKHSROLWLFDO

 SURFHVVHVWKDWSURGXFHGWKHUHSRUWVZKLFKFRXOGUHTXLUH*RRJOHWRDOLJQLWVHOIZLWKSROLWLFDO

 ILJXUHVZKRVHYLHZVMXURUVRSSRVHRUGLVOLNH7KDWZRXOGEHXQIDLUO\SUHMXGLFLDO

         )LQDOO\3ODLQWLIIVVKRXOGQRWEHDEOHWRHQGUXQWKHLQDGPLVVLELOLW\RIWKHVHUHSRUWVE\

 KDYLQJWKHLUH[SHUWVUHO\RQRUUHSHDWWKHP$QHFRQRPLVW¶VWHVWLPRQ\WKDWKHUHDFKHGD

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    23326,7,2172'()(1'$176¶027,21IN LIMINE 12

            7KH &RXUW VKRXOG GHQ\ *RRJOH¶V DWWHPSWV WR H[FOXGH &RQJUHVVLRQDO DQG ([HFXWLYH %UDQFK

    UHSRUWV ³*RYHUQPHQW5HSRUWV´ WKDWUHIOHFWH[WHQVLYHLQYHVWLJDWLRQRI*RRJOH¶VFRQGXFWDWLVVXHLQWKLV

    FDVH7KH*RYHUQPHQW5HSRUWVDUH  ³SUHVXPSWLYHO\DGPLVVLEOH´IRUWKHLUXQGHUO\LQJIDFWXDOILQGLQJV

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   LQUHOHYDQWPDUNHWV 5XOH  ³DVVXPHVDGPLVVLELOLW\LQWKHILUVWLQVWDQFH´%HHFK$LUFUDIW&RUSY

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   UHSRUW FRQWDLQLQJ QR IDFWXDO ILQGLQJV  E\ DQ DQRQ\PRXV FRPPLWWHH ZKLFK LQKHUHQWO\ ODFNHG

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    DQG LQWHUYLHZV ZLWK RYHU PDUNHW SDUWLFLSDQWV LQFOXGLQJ IRUPHU HPSOR\HHV RI WKH LQYHVWLJDWHG

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    WKHLURZQSUHVHQWDWLRQVWR6XEFRPPLWWHHVWDIIDQGWRDQVZHUTXHVWLRQVDQGSURYLGHGHWDLOVUHJDUGLQJ

    >*RRJOH¶V@ EXVLQHVV SUDFWLFHV VWUXFWXUHV DQG VWUDWHJLHV LQ WKH PDUNHWSODFH´  ,G DW   7KH 17,$

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    VXSSRVHGFRPSHWLWLYHSUHVVXUHDQGGHYHORSHUFRQFHUQV7KH*RYHUQPHQW5HSRUWVKHOSVKRZWKDW*RRJOH

    UHDFWHGQRWWRFRPSHWLWLYHSUHVVXUHEXWWRPRXQWLQJUHJXODWRU\OHJLVODWLYHSUHVVXUH 6HH(YHQ'HFO

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 IRUPDNLQJWKHVDPHFKDUJHVLWEULQJVLQWKLVFDVHZRXOGEHKLJKO\SUHMXGLFLDO´ 8QLWHG6WDWHVY

 3DF*DV (OHF&R)6XSSG 1'&DO$SU  H[FOXGLQJFRQFOXVLRQV

 RIUHSRUWEHFDXVH³DGPLWWLQJ>LWV@FRQFOXVLRQVLQYLWHVWKHMXU\WRLPSURSHUO\VXEVWLWXWH>LWV@

 ILQGLQJV²XQGHUDGLIIHUHQWVWDQGDUGDQGIRUDGLIIHUHQWSXUSRVH²IRULWVRZQILQGLQJV´ 

         7KHSUREDWLYHYDOXHRIIRUHLJQSURFHHGLQJVLVORZHUDQGWKHSRWHQWLDOIRUSUHMXGLFHHYHQ

 KLJKHUJLYHQWKDWVHYHUDORIWKHIRUHLJQSURFHHGLQJV3ODLQWLIIVPD\UHO\RQUHPDLQRQDSSHDO6HH

 5DPEXV:/DW  H[FOXGLQJUHJXODWRU\GHFLVLRQRQDSSHDOXQGHU5XOH &I

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 6HSW  (XURSHDQ8QLRQ $OSKDEHW,QF 2UVY&&, 2UV 1DWLRQDO&RPSDQ\/DZ

 $SSHOODWH7ULEXQDO3ULQFLSDO%HQFK1HZ'HOKL±&RPSHWLWLRQ$SSHDO $7 1RRI 

 ,QGLD *RRJOH//&Y&RPSHWLWLRQ&RPPLVVLRQRI,QGLD &LYLO$SSHDO1R  ,QGLD 

         ,QRUGHUWRSUHYHQWWKDWXQIDLUSUHMXGLFHWKH&RXUWZRXOGEHUHTXLUHGWRLQVWUXFWWKHMXU\RQ

 WKHGLIIHUHQFHVEHWZHHQ86DQGIRUHLJQDQWLWUXVWODZUHVXOWLQJLQDGLVWUDFWLQJDQGFRQIXVLQJ

 GHWRXULQWRFRPSDUDWLYHDQWLWUXVWODZGXULQJWKHWULDO*RRJOHDOVRPLJKWQHHGWRH[SODLQZK\WKH

 IRUHLJQSURFHHGLQJVKDYHQRSUREDWLYHYDOXHUHVXOWLQJLQDGLVWUDFWLQJPLQLWULDO6HH,QUH&57

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       Case 3:21-cv-05227-JD Document 482 Filed 10/05/23 Page 63 of 71




  PLQLWULDORIWKH(&SURFHHGLQJ´ DFFRUG,QUH6HURTXHO)6XSSG 0')OD

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  UHJDUGLQJWKHJURXQGVIRUWKHGHFLVLRQVDQGWKHUHJXODWRU\VFKHPHVRIWKHWKUHHIRUHLJQFRXQWULHV

  LQYROYHG´ZKLFKZRXOG³FRQIXVHWKHMXU\DQGZDVWHHYHU\RQH¶VWLPH´ 

          7KLUGIRUVLPLODUUHDVRQVWKHILQGLQJVDQGUHSRUWVRIIRUHLJQUHJXODWRUVDUHLQDGPLVVLEOH

  KHDUVD\WKDWGRQRWIDOOZLWKLQDQ\H[FHSWLRQLQFOXGLQJWKHH[FHSWLRQIRUSXEOLFUHSRUWVWKDWKDYH

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  &RPSHWLWLRQ 0DUNHWV$XWKRULW\KDV³FKRVHQQRWWRSXEOLVK´VRPHLQIRUPDWLRQDQG³DQRQ\PLVHG

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 DQDO\VLV´ $QHFRQRPLVW¶VWHVWLPRQ\WKDWKHUHDFKHGDFRQFOXVLRQRQDSDUWLFXODULVVXHEHFDXVH

 WKH(XURSHDQ&RPPLVVLRQRUWKH&RPSHWLWLRQ&RPPLVVLRQRI,QGLDUHDFKHGWKDWFRQFOXVLRQ

 LQYLWHVWKHMXU\WRGRWKHYHU\VDPHWKLQJ$WDPLQLPXP3ODLQWLIIV¶H[SHUWVVKRXOGQRWEHDEOHWR

 RIIHUWHVWLPRQ\EDVHGRQILQGLQJVRUUHSRUWVRIIRUHLJQUHJXODWRUVLI*RRJOHFDQQRWLQWURGXFH

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       Case 3:21-cv-05227-JD Document 482 Filed 10/05/23 Page 65 of 71




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                                      KWWSVZZZIWFJRNU
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                                     USWW\SH  UHSRUW GDWD QR 
         -                           'RFXPHQWWLWOHG³&RPSHWLWLRQ 0DUNHWV$XWKRULW\
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    KLJKO\ SUREDWLYH DQG DGPLVVLEOH WR VKRZ WKH PRWLYDWLRQV EHKLQG *RRJOH¶V FKDQJHV WR LWV EXVLQHVV

    SUDFWLFHV²QDPHO\WKDWFKDQJHV*RRJOHKDVPDGHWRLWVFRQGXFWLQWKHUHOHYDQWPDUNHWZHUHGULYHQE\

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   LQYHVWLJDWLRQVLVUHOHYDQWWRVKRZWKDWWKHVHFKDQJHVWR*RRJOH¶VFRQGXFWKDYHEHHQPRWLYDWHGQRWE\

   FRPSHWLWLYHSUHVVXUHEXWE\PRXQWLQJUHJXODWRU\SUHVVXUH

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   >ILUVWSDUW\DQGWKLUGSDUW\@$SSVLVnot driven by economic considerations>5DWKHUWKH@Goal is to (1)

   address Regulatory risk to Google DQG  SUHVHUYH 3OD\¶V EXVLQHVV PRGHO´  (YHQ 'HFO ([ 

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   $VDPRQRSROLVW*RRJOHKDVEHHQDEOHWR³PDNHQRFKDQJHV´WRLWVDQWLFRPSHWLWLYHFRQGXFWXQOHVVDQG

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   3/$<DW  *RRJOH¶V ³&RQVHUYDWLYHDSSURDFKLV WR comply with the Korean law

   DOORZ DOWHUQDWH ELOOLQJ  FKDUJH D VHUYLFH IHH but otherwise make no changes    7KLV DSSURDFK

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    RIFKDQJHV*RRJOHPDNHV ZLWKIRU0DOUHDG\DQQRXQFHG ´ HPSKDVLVLQRULJLQDO  

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    GRQRW VHHNWR LQWURGXFHWKH RXWFRPHRIWKHVHLQYHVWLJDWLRQVDVHYLGHQFH RIZURQJGRLQJ EXW RQO\ WR

    LQWURGXFH WKH H[LVWHQFH RI VXFK LQYHVWLJDWLRQV WR H[SODLQ WKH UHDVRQV IRU *RRJOH¶V UHDFWLYH FRQGXFW

    $FFRUGLQJO\WKHUHZRXOGEHQRQHHGIRUGHWRXUVWKURXJKIRUHLJQOHJDOSULQFLSOHVRUILQGLQJVDQGWKHUH

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                Case 3:21-cv-05227-JD Document 482 Filed 10/05/23 Page 68 of 71




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       Case 3:21-cv-05227-JD Document 482 Filed 10/05/23 Page 71 of 71




 1                                       E-FILING ATTESTATION
 2          I, Glenn D. Pomerantz, am the ECF User whose ID and password are being used to file

 3 this document and the papers submitted in connection with it. In compliance with Civil Local

 4 Rule 5-1(h)(3), I hereby attest that each of the signatories identified above and in the papers

 5 submitted in connection with this motion have concurred in this filing.

 6
                                                               /s/ Glenn D. Pomerantz
 7                                                       Glenn D. Pomerantz
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            DEFENDANTS’ OMNIBUS MOTIONS IN LIMINE AND PLAINTIFFS’ RESPONSES THERETO
         Case Nos. 3:21-md-02981-JD, 3:20-cv-05761-JD, 3:20-cv-05671-JD, 3:21-cv-05227-JD, 3:22-cv-01746-JD
